17-51045-cag Doc#4 Filed 05/05/17 Entered 05/05/17 10:56:11 Main Document Pg 1 of 2



                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

  IN RE:                                           §
                                                   §
  UPPER PADRE PARTNERS, L.P.                       §           Case No. 17-51045
                                                   §
          Alleged Debtor.                          §           Chapter 11


                   NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

  TO ALL INTERESTED PARTIES:

          Axys Capital Credit Fund LLC (“Axys”), a creditor in the above-referenced case, hereby

  gives notice of its appearance in this case pursuant to Bankruptcy Rule 9010 by and through the

  undersigned counsel,

                   Eric J. Taube
                   Waller Lansden Dortch & Davis, LLP
                   100 Congress Ave., Suite 1800
                   Austin, Texas 78701
                   (512) 685-6400
                   (512) 685-6417 FAX
                   Email: eric.taube@wallerlaw.com

                   and

                   Mark C. Taylor
                   Waller Lansden Dortch & Davis, LLP
                   100 Congress Ave., Suite 1800
                   Austin, Texas 78701
                   (512) 685-6400
                   (512) 685-6417 FAX
                   Email: mark.taylor@wallerlaw.com

          Axys respectfully requests that it be served with copies of all notices issued by the Clerk

  of the Court and all other pleadings and notices to parties-in-interest filed by Debtor, any

  Creditors Committees, or any other interested parties in this case, including all adversary

  proceedings, in accordance with Bankruptcy Rule 2002. Further, Axys requests that copies of all



  032714-66880/4844-6164-4616.1                                                               Page 1
17-51045-cag Doc#4 Filed 05/05/17 Entered 05/05/17 10:56:11 Main Document Pg 2 of 2



  applications, motions, complaints, and other proceedings filed in the above-referenced case be

  forwarded to it through its attorneys of record.


                                                Respectfully submitted,

                                                WALLER LANSDEN DORTCH & DAVIS, LLP


                                                By: /s/ Mark C. Taylor
                                                   Eric J. Taube
                                                   State Bar No. 19679350
                                                   Mark C. Taylor
                                                   State Bar No. 24084021
                                                   100 Congress Avenue, Suite 1800
                                                   Austin, Texas 78701
                                                   (512) 685-6400
                                                   (512) 685-6417 (FAX)
                                                   eric.taube@wallerlaw.com
                                                   mark.taylor@wallerlaw.com

                                                ATTORNEYS FOR CREDITOR,
                                                AXYS CAPITAL CREDIT FUND LLC


                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was electronically
  filed and served via the Court’s CM/ECF system upon all parties registered to receive notice in
  this case on this 5th day of May, 2017.


                                                   /s/ Mark C. Taylor
                                                Mark C. Taylor




  032714-66880/4844-6164-4616.1                                                              Page 2
